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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT

    WEST BEND MUTUAL INSURANCE
    COMPANY,

                    Plaintiff,
        vs.
                                                                 Case No.: 3:22-cv-00478-VAB

    GENESIS COMMUNICATIONS
    NETWORK, INC. and ALEX JONES;

                    Defendants.


                    PLAINTIFF’S MEMORANDUM IN SUPPORT OF
               MOTION FOR DEFAULT JUDGMENT AGAINST ALEX JONES

                                              INTRODUCTION

        Pursuant to Federal Rule of Civil Procedure 55(b)(2), plaintiff, West Bend Mutual

Insurance Company (“West Bend”), respectfully submits this memorandum of law in support of

its motion for default judgment against defendant Alex Jones. West Bend seeks a default judgment

because Jones failed to answer or otherwise defend West Bend’s Complaint against him. 1 The

Court entered default against Jones on September 15, 2022. (Doc. No. 69).

        West Bend alleged in its Complaint that it owed neither a duty to defend nor a duty to

indemnify to Jones with regard to the complaints filed in three related actions (“the Underlying

Lawsuits”):

              A. Lafferty, et al. v. Jones, et al., No. X06-UWY-CV18-6046436-S (Judicial District

                 of Fairfield at Bridgeport) (attached as Ex. A to the Complaint, Doc. No. 1-1) 2;


1
  In a separate motion filed today, West Bend also seeks a default judgment against defendant Genesis
Communications Network, Inc.
2
  Unless otherwise noted, the exhibits referenced herein are the exhibits to West Bend’s Complaint, Doc. Nos. 1-1
through 1-10. Page references are to the page number added by the court’s electronic filing system.
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           B. Sherlach, et al. v. Jones, et al., No. X06-UWY-CV18-6046437-S (Judicial District

               of Fairfield at Bridgeport) (attached as Ex. B to the Complaint, Doc. No. 1-2);

           C. Sherlach, et al, v. Jones, et al., No. X06-UWY-CV18-6046438-S (Judicial District

               of Fairfield at Bridgeport) (attached as Ex. C to the Complaint, Doc No. 1-3).

       The defendants in the three foregoing actions, including Jones, are alleged to have

persistently perpetuated the lie that the Sandy Hook shooting was staged and that the families who

lost loved ones that day are actors who faked their relatives’ deaths.

       West Bend insured Genesis Communications Network, Inc. (“GCN”), which was

originally named as a defendant in the Underlying Lawsuits. The underlying claimants, however,

subsequently dropped their claims against GCN. The West Bend policies issued to GCN do not

even potentially cover Jones or any other defendant in the Underlying Lawsuit for the myriad

reasons discussed herein. West Bend therefore seeks a default judgment against Jones declaring

that West Bend does not owe him a duty to defend and does not owe him a duty to indemnify.

                               PROCEDURAL BACKGROUND

       West Bend commenced this action by filing its complaint on April 1, 2022. (Doc. No. 1.)

On April 4, 2022, pursuant to Fed. R. Civ. P. 4(d), West Bend notified counsel for Jones in writing

that the action had been commenced and requested that Jones waive service of summons. (See

Affidavit of Daniel J. Cunningham (“Cunningham Aff.”) ¶ 3) submitted herewith. Shortly

thereafter, West Bend received from counsel for Jones a fully executed Waiver of Service of

Summons (“Waiver”). (See Doc. No. 58). The Waiver was signed by Norman Pattis, counsel for

Jones. (See id.) The signed Waiver acknowledged receipt of West Bend’s request to waive service

of summons along with a copy of the complaint, two copies of the waiver form, and a prepaid

means of returning one signed copy of the form. (See id.) The Waiver also acknowledged that



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GCN was required to file and serve an answer or a motion under Rule 12 within 60 days from

April 4, 2022 (which was June 3, 2022) and that failure to do so would result in entry of a default.

(See id.) Jones never appeared, answered or otherwise moved in this action.

       On August 26, 2022, West Bend filed its Request to Enter Default as to Jones. (See Doc.

No. 67). The Court entered default against Jones on September 15, 2022. (See Doc. No. 69.)

       Out of an abundance of caution, West Bend also originally named the underlying claimants

as defendants in this action, including Erica Lafferty, William Sherlach, Robert Parker, Jacqueline

Barden, Mark Barden, Nicole Hockley, Ian Hockley, Francine Wheeler, David Wheeler, Jennifer

Henzel, Donna Soto, Carlee Soto-Parisi, Carlos M. Soto, Jillian Soto, and William Aldenberg

(collectively the “Underlying Claimants”). They waived service, and counsel appeared on their

behalf. (See Doc. Nos. 11-16, 18-26, 28-57, 71.) However, through their counsel, the Underlying

Claimants ultimately informed West Bend that they did not wish to participate in this declaratory

judgment action. (See Doc. No. 72-1, ¶ 4.) West Bend therefore entered a Stipulation to Be Bound

with the Underlying Claimants in which they agreed to be bound by any judgments (including

default and declaratory judgments) entered by the Court resolving West Bend’s contentions that it

owes neither a duty to defend nor a duty to indemnify to any party to the Underlying Lawsuits.

(Doc. No. 72-1.)     Pursuant to that Stipulation, West Bend then Voluntarily dismissed the

Underlying Claimants from this action. (Doc. No. 72).

                                  FACTUAL BACKGROUND

The Underlying Lawsuits

       The Underlying Lawsuits were filed in May and July of 2018 and were subsequently

consolidated. (See Complaint, Doc. No. 1, ¶ 30.) The claims in each Underlying Lawsuit are

substantially the same. (See id., ¶ 31.) The Underlying Claimants are certain immediate family



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members of children and educators killed by Adam Lanza at Sandy Hook Elementary School in

Newtown, Connecticut on December 14, 2012. (See id., ¶ 32.)

       The complaints in the Underlying Lawsuits begin by alleging:

       7.      Defendant Alex Jones is a conspiracy-theorist radio and internet personality
       who holds himself out as a journalist. He is the most prolific among those
       fabricators. But he does not act alone: along with his various business entities,
       Jones is the chief amplifier for a group that has worked in concert to create and
       propagate loathsome, false narratives about the Sandy Hook shooting and its
       victims, and promote their harassment and abuse.

       8.    Jones, along with these others, has persisted in the perpetuation and
       propagation of this outrageous, deeply painful, and defamatory lie in the face of a
       mountain of evidence to the contrary, and with no supporting evidence.

       9.   Alex Jones does not in fact believe that the Sandy Hook Shooting was a
       hoax—and he never has.

       10.    Nevertheless, time and again, Jones has accused Sandy Hook families, who
       are readily identifiable, of faking their loved ones’ deaths, and insisted that the
       children killed that day are actually alive.

       11.    Jones has deliberately employed these false narratives about the Sandy
       Hook shooting, the victims, and their families as part of a marketing scheme that
       has brought him and his business entities tens of millions of dollars per year.

(See id., ¶ 34; See Complaint, Exhibits A-C ¶¶ 7-11.)

       Count One in the complaints filed in the Underlying Lawsuits alleges a claim for Invasion

of Privacy False Light/Civil Conspiracy based on the underlying defendants, including Jones,

having broadcast numerous outrageous lies about the underlying plaintiffs. (See id., ¶ 37; Ex. A,

¶¶ 336-46; Ex. B, ¶¶ 416-26; Ex. C, ¶¶ 416-26.)

       Count Two in the complaints filed in the Underlying Lawsuits alleges a claim for

Defamation and Defamation per se/Civil Conspiracy based on the underlying defendants,

including Jones, having repeatedly published false statements asserting or reasonably understood

to be asserting that the underlying plaintiffs’ loved ones did not die; and/or that the episode in



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which they were killed was staged or their loved ones were still alive; and or the underlying

claimants were actors who faked their loved ones’ deaths. (See id., ¶ 38; Ex. A, ¶¶ 347-59; Ex. B,

¶¶ 427-39; Ex. C, ¶¶ 427-39.)

       Count Three in the complaints filed in the Underlying Lawsuits alleges a claim for

Intentional Infliction of Emotional Distress/Civil Conspiracy based on the underlying defendants,

including Jones, having broadcast a campaign of outrageous and false statements about the

underlying claimants. (See id., ¶ 39;Ex. A, ¶¶ 360-72; Ex. B, ¶¶ 440-52; Ex. C, ¶¶ 440-52.)

       Count Four in the complaints filed in the Underlying Lawsuits alleges a claim for Negligent

Infliction of Emotional Distress/Civil Conspiracy based on the underlying defendants, including

Jones, having mounted a campaign of outrageous, cruel and malicious lies. (See id., ¶ 40; Ex. A,

¶¶ 373-84; Ex. B, ¶¶ 453-64; Ex. C, ¶¶ 453-64.)

       Count Five in the complaints filed in the Underlying Lawsuits alleges a claim under the

Connecticut Unfair Trade Practices based on the underlying defendants, including Jones, having

disseminated outrageous and malicious lies about the underlying claimants. (See id., ¶ 41; Ex. A,

¶¶ 385-94; Ex. B, ¶¶ 465-74; Ex. C, ¶¶ 465-74.)

       On November 15, 2021, the Judge presiding over the Underlying Lawsuits found that the

Jones Defendants (which do not include GCN) failed to produce critical material information and

entered a default against them. (See Cunningham Aff., ¶ 12, Ex. 2.)

       On June 30, 2022, the Underlying Claimants in all three Underlying Lawsuits withdrew

their claims against GCN. (See Cunningham Aff., ¶ 11, Ex. 1.)

       The case then proceeded to trial as to damages as to the Jones Defendants, and, on

October 12, 2022, the Jury awarded a total of $965,000,000 to the Underlying Claimants. (See

Cunningham Aff., ¶ 13, Ex. 3.)



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The Policies

        West Bend issued to Genesis, Inc. (GCN) the following liability policies (“the Policies”):

                 Policy Number                   Policy Period             Complaint Exhibit

               CPO 0593558 10                4/22/12 to 4/22/13              D (Doc. No. 1-4)
               CPO 0593558 11                4/22/13 to 4/22/14              E (Doc. No. 1-5)
               CPO 0593558 12                4/22/14 to 4/22/15              F (Doc. No. 1-6)
               CPO 0593558 13                4/22/15 to 4/22/16              G (Doc. No. 1-7)
               CPO 0593558 14                4/22/16 to 4/22/17              H (Doc. No. 1-8)
               CPO 0593558 15                4/22/17 to 4/22/18               I (Doc. No. 1-9)
               CPO 0593558 16                4/22/18 to 4/22/19              J (Doc. No. 1-10)

(See Complaint, Doc. No. 1, ¶ 42; See Complaint Exhibits D through J.) Each policy is subject to

a $1 million each occurrence limit and a $1 million general aggregate limit. With regard to the

provisions at issue in West Bend’s Complaint, the Policy language is the same in each policy.

        Subject to certain definitions, exclusions, and conditions, the Policies provide coverage for

“bodily injury” and “property damage.” (See id., ¶¶ 47-48.) Importantly, unlike some policies

available in the insurance market, the Policies at issue in this action do not provide any coverage

for “personal and advertising injury.” (See id., ¶¶ 43-44.) The relevant policy provisions are set

forth in the Complaint and below in the discussion of each of West Bend’s contentions as to why

it cannot owe a duty to defend or indemnify to Jones.

        Counsel for Alex Jones first asserted a claim for coverage under the West Bend policies by

letter dated January 21, 2022, and West Bend fully denied coverage on February 23, 2022. (See

id., ¶ 57.)




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                            BASIS FOR FEDERAL JURISDICTION

        This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332 as

the plaintiff is a citizen of Wisconsin and all of the defendants are citizens of other states

(Connecticut, Massachusetts, Minnesota, Texas and Washington). (See Complaint, ¶¶ 4-24.)

Additionally, the amount in controversy exceeds $75,000.00 exclusive of costs and interest. (See

id., ¶ 25.)

                             DEFAULT JUDGMENT STANDARD

        A two-step process applies when a party seeks a default judgment under Rule 55. Priestly

v. Headminder, 647 F.3d 497, 504 (2d Cir. 2011). The plaintiff must first obtain an entry of default

by demonstrating that the defaulting party “has failed to plead or otherwise defend.” Fed. R. Civ.

P. 55(a). Rule 55(a) empowers the clerk of the court to enter such a default. Priestly, 647 F.3d at

504-05. Second, the plaintiff must seek a default judgment under Rule 55(b). Id. at 505.

        In evaluating a motion for default judgment, a court must accept all of the plaintiff’s factual

allegations as true and draw all reasonable inferences in its favor, but it is also required to

determine whether the plaintiff’s allegations establish its case as a matter of law. Finkel v.

Romanowicz, 577 F.3d 79, 84 (2d Cir. 2009). Where, as here, the plaintiff does not seek monetary

relief and instead seeks only a declaratory judgment as to the lack of any duty to defend or

indemnify under an insurance policy, the court must determine from the facts alleged whether the

policy provides coverage to the insured. See United Property and Casualty Ins. Co. v. Hillgen-

Santa, et al., No. 3:21-cv-00543-VAB, 2022 WL 2596623, *5 (D. Conn. August 23, 2022);

Metropolitan Property & Casualty Ins. Co. v. Sisbarro, No. 3:13-cv-537 (MPS), 2015 WL 893328,

*7 (D. Conn. March 2, 2015).




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                                         ARGUMENT

A.     As There Is No Conflict of Laws, The Court Need Not Make a Choice of Law.

       The Policies indicate on their face that they were issued to GCN in Minnesota. (See

Complaint, Exhibits D through J all at p. 3.) GCN is incorporated in Minnesota. (See Complaint,

¶ 6). The Underlying Lawsuits are pending in Connecticut, and the forum for the instant action is

obviously in Connecticut. The Court, however, need not make a choice of law unless there is an

outcome determinative conflict of laws. Lumbermens Mut. Cas. Co. v. Dillon Company, Inc., 9

Fed.Appx. 81, 83 (2d Cir. 2001); Dr. Jeffrey Milton, DDS, Inc. v. Hartford Cas. Ins. Co., No.

3:210CV00640(SALM), 2022 WL 603028, *3-4 (D. Conn. March 1, 2022).

       There is no outcome determinative conflict between the law of Connecticut and the law of

Minnesota. Under both Connecticut and Minnesota law, coverage issues are generally questions

of law. See Hillgen-Santa at *6; Lhotka v. Illinois Farmers Ins. Co., 572 N.W.2d 772, 773-74

(Minn. Ct. App. 1998). In both states, insurance policies are governed by the same general

principles that govern the construction of any written contract. See Hillgen-Santa at *6; Carlson

Marketing Group, Inc. v. Royal Indemnity Co., et al., 517 F. Supp. 2d 1089, 1096 (D. Minn. 2007).

If the policy terms are clear and unambiguous, the language must be accorded its natural and

ordinary meaning. See Hillgen-Santa at *6; C.S. McCrossan, Inc. v. Federal Ins. Co., 932 F.3d

1142, 1145 (8th Cir. 2019). Connecticut and Minnesota courts do not torture words to import

ambiguity where the ordinary meaning leaves no room for ambiguity. See Hillgen-Santa at *6;

Ross v. City of Minneapolis, 408 N.W.2d 910, 914 (Minn. Ct. App. 1987). In both states, the

insured party bears the initial burden of demonstrating coverage, and the insurer bears the burden

of establishing any applicable exclusions. See Yale University v. Cigan Ins. Co., 224 F. Supp. 2d

402, 411-12 (D. Conn. 2002); C.S. McCrossan, 932 F.3d at 1145.



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        The two states similarly construe the duties to defend and indemnify. The former duty is

triggered if the allegations in the complaint possibly fall within the coverage. See Hillgen-Santa

at *6; Travelers Property Cas. Co. of America v. General Cas. Ins. Companies, 465 F.3d 900, 903

(8th Cir. 2006). The duty to indemnify is narrower than the duty to defend. See Hillgen-Santa at

*6; Nelson v. American Home Ins. Co., 824 F. Supp. 2d. 909, 915 (D. Minn. 2011). An insurer

that does not owe a duty to defend cannot owe a duty to indemnify. See Hillgen-Santa at *6;

Selective Ins. Co. of America v. Smart Candle, LLC, 781 F.3d 983, 985 (8th Cir. 2015).

B.      West Bend Does Not Owe Jones a Duty to Defend or Indemnify.

        1.      The Policies Do Not Cover Any “Personal and Advertising Injury.”

        The Policies define “personal and advertising injury” as follows:

                “Personal and advertising injury” means injury, including consequential
                “bodily injury”, arising out of one or more of the following offenses:

                a.      False arrest, detention or imprisonment;
                b.      Malicious prosecution;
                c.      The wrongful eviction from, wrongful entry into, or invasion of the
                        right of private occupancy of a room, dwelling or premises that a
                        person occupies, committed by or on behalf of its owner, landlord
                        or lessor;
                d.      Oral or written publication, in any manner, of material that slanders
                        or libels a person or organization or disparages a person’s or
                        organization’s goods, products or services;
                e.      Oral or written publication, in any manner, of material that violates
                        a person’s right of privacy;
                f.      The use of another’s advertising idea in your “advertisement”; or
                g.      Infringing upon another’s copyright, trade dress or slogan in your
                        “advertisement”.

(See Complaint, Doc. No. 1, ¶ 45; Ex. D at 31, Ex. E at 35, Ex. F at 31, Ex. G at 31, Ex. H at 36,

Ex. I at 36, Ex. J at 37.)

        Importantly, the foregoing definition exists in the Policies not for purposes of providing

coverage for “personal and advertising injury” but for purposes of fully excluding coverage for it.



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This is established both in the Declarations, which indicate that such coverage is “EXCLUDED”

(See Complaint, ¶ 44; Ex. D at 6, Ex. E at 5, Ex. F at 6, Ex. G at 6, Ex. H at 19, Ex. I at 19, Ex. J

at 19.) and also in the endorsement labeled “Exclusion—Personal and Advertising Injury.” (See

id.; Ex. D at 37, Ex. E at 41, Ex. F at 37, Ex. G at 37, Ex. H at 41, Ex. I at 41, Ex. J at 43.) That

exclusion states, “Coverage B (Section 1) does not apply and none of the references to it in the

Coverage Part apply.” (See id.,).

        As all “personal and advertising injury” is excluded, the Policies do not provide any

coverage for damages arising out of oral or written publication of material that slanders or libels a

person, nor do they provide any coverage for oral or written publication of material that violates a

right of privacy. (See id, ¶ 46). As the damages sought in the Underlying Lawsuits all arise out

of defamation, invasion of privacy, and the resulting emotional distress, the deletion of all coverage

for “personal and advertising injury” effectively precludes even the possibility of coverage here.

West Bend therefore did not and cannot owe a duty to defend or indemnify to Jones.

        2.      The Underlying Lawsuits Do Not Allege “Bodily Injury” or “Property
                Damage.”
        While the Policies do not provide coverage for “personal and advertising injury,” they do

provide coverage for “bodily injury” or “property damage” occurring during the policy period and

arising out of an “occurrence.” Such coverage is found in “Coverage A,” which defines “bodily

injury” as:

        “Bodily Injury” means bodily injury, sickness or disease sustained by a person,
        including death resulting from any of these at any time.

(See Complaint, ¶ 48; Ex. D at 30, Ex. E at 34, Ex. F at 30, Ex. G at 30, Ex. H at 35, Ex. I at 35,

Ex. J at 35.)

        The Underlying Lawsuits do not allege bodily injury, sickness or disease, and the definition

of “bodily injury” is therefore not satisfied. Notably, two Connecticut Superior Court decisions

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have reached this very conclusion upon evaluation of the very same Underlying Lawsuits as are at

issue in the instant action. See USAA General Indem. Co. v. Sklanka, No. UWYCV196048058S,

2020 WL 1932359, *3 (Superior Court, Waterbury, March 17, 2020) (discussing Lafferty); USAA

General Indem. Co. v. Sklanka, No. 196048057S, 2020 WL 3790745, *3 (Superior Court,

Waterbury, June 5, 2020) (discussing Sherlach). Both cases found that instead of involving

“bodily injury,” the complaints in the Underlying Lawsuits alleged that the plaintiffs suffered

harassment, potential violence, actual and substantial damages, and emotional distress. Id. They

also noted that the Connecticut Supreme Court has repeatedly held that emotional distress without

physical harm does not constitute “bodily injury” as defined by an insurance policy. Id. citing

Taylor v. Mucci, 288 Conn. 379, 385-86, 952 A.2d 776 (2008). Minnesota law is no different. See

e.g., Garvis v. Demuth, Jr., 497 N.W.2d 254, 256-58 (Minn. 1993). As there are no allegations of

actual physical harm in the Underlying Lawsuits, the definition of “bodily injury” is not satisfied.

       The definition of “property damage” is also not satisfied here. That term is defined as:

           a. Physical injury to tangible property, including all resulting loss of use of
              that property. All such loss of use shall be deemed to occur at the time of
              the physical injury that caused it; or
           b. Loss of use of tangible property that is not physically injured. All such loss
              of use shall be deemed to occur at the time of the “occurrence” that caused
              it.

           For the purposes of this insurance, electronic data is not tangible property.

           As used in this definition, electronic data means information, facts or programs
           stored as or on created or used on, or transmitted to or from computer software,
           including systems and applications software, hard or floppy disks, CD-ROMS,
           tapes, drives, cells, data processing devices or any other media which are used
           with electronically controlled equipment.

(See Complaint, ¶ 49; Ex. D at 32, Ex. E at 36, Ex. F at 32, Ex. G at 32, Ex. H at 37, Ex. I at 37,

Ex. J at 37-38.) The Underlying Lawsuits do not allege physical injury to tangible property, nor

do they allege loss of use of tangible property that is not physically injured. As such, the definition

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of “property damage” is not satisfied. In combination with the fact that “bodily injury” is not

alleged, there are no allegations that even potentially trigger Coverage A, and West Bend therefore

cannot owe a duty to defend or indemnify to Jones.

       3.       Even If the Underlying Lawsuits Did Allege “Bodily Injury,” Coverage Would
                Be Excluded by Coverage A’s Personal and Advertising Injury Exclusion.

       In the unlikely event that the Underlying Lawsuits are construed as alleging “bodily

injury,” West Bend still would not owe a duty to defend or indemnify under Coverage A because

that coverage is subject to its own Personal and Advertising Injury Exclusion, which provides:

       This insurance does not apply to:

                o.     Personal and Advertising Injury

                “Bodily injury” arising out of “personal and advertising injury”.

(See Complaint, ¶ 52; Ex. D at 22, Ex. E at 26, Ex. F at 22, Ex. G at 22, Ex. H at 27, Ex. I at 27,

Ex. J at 27.)

       If the emotional distress alleged in the Underlying Lawsuits is somehow deemed to be

“bodily injury,” the foregoing exclusion would be triggered because any emotional distress alleged

in the complaints is alleged to arise out of defamation and invasion of privacy, which are offenses

falling within the definition of “personal and advertising injury.”         Indeed, the Underlying

Claimants connect their emotional injury to the defendants’ “personal and advertising injury”

offenses when they allege, “[t]he defendants’ campaign of outrageous, cruel, and malicious lies

created an unreasonable risk of causing the plaintiff’s emotional distress.” See Complaint, Ex. A,

¶ 374; Ex. B, ¶ 454; Ex. C, ¶ 454.) As there is no emotional distress alleged which is unrelated to

the offenses identified in the “personal and advertising injury” definition, the exclusion would

fully bar coverage, in the unlikely event the alleged emotional distress qualifies as “bodily injury.”




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        4.      Even If the Underlying Lawsuits Did Allege “Bodily Injury” or “Property
                Damage,” the Designated Professional Services Exclusion Would Bar
                Coverage.

        By endorsement, the Policies also set forth an exclusion for Designated Professional

Services, which bars coverage for “bodily injury” or “property damage” due to the rendering of or

failure to render any professional service. The Schedule to the endorsement describes the excluded

professional services as “THE RADIO SYNDICATION OR REPRODUCTION OVER THE

AIRWAYS.” (See Complaint, ¶ 53; Ex. D at 9, Ex. E at 13, Ex. F at 9, Ex. G at 9, Ex. H at 40,

Ex. I at 40, Ex. J at 42.)

        The Underlying Lawsuits expressly allege that Alex Jones produces radio programs (See

Complaint Ex. A, ¶ 38; Ex. B, ¶ 33; Ex. C, ¶ 33.). According to the Underlying Lawsuits, the

defendants, including Jones, “broadcast” their outrageous, cruel and malicious lies.          (See

Complaint Ex. A, ¶ 343, Ex. B, ¶ 423; Ex. C, ¶ 423.). They further allege that Jones is a radio and

internet personality, has an audience of millions, and that the defamatory publications were

broadcast to millions of people (See id., Ex. A., ¶¶ 30, 12, and 352; Ex. B, ¶¶ 25, 12, 432; Ex. C,

¶¶ 25, 12, 432.) According to the complaints, Jones’ shows are syndicated on approximately 60

radio stations. (See id., Ex. A., ¶¶ 30, 40; Ex. B, ¶¶ 25, 35; Ex. C, ¶¶ 25, 35.) These allegations

place the Underlying Lawsuits squarely within the Designated Professional Services exclusion.

As noted, the excluded professional service identified in that exclusion is radio syndication or

reproduction over the airways. Jones’s alleged liability arises entirely out of his conduct in the

performance that excluded professional service. Based on the allegations in the Underlying

Lawsuits, there is no doubt that Jones was sued due to his rendering of professional services

involving radio syndication or reproduction over the airways. West Bend therefore cannot owe a

duty to defend or a duty to indemnify to Jones.



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        5.      Even If the Underlying Lawsuits Did Allege “Bodily Injury” or “Property
                Damage,” Coverage Would Be Excluded by the Definition of Occurrence and
                the Expected or Intended Injury Exclusion.

        The allegations of intentional injury in the Underlying Lawsuits would also bar even the

potential for coverage, if the definitions of “bodily injury” and “property damage” are somehow

deemed satisfied. “Occurrence” is defined in the Policies to mean “an accident, including

continuous or repeated exposure to substantially the same general harmful conditions.” (See

Complaint, ¶ 50; Ex. D at 31, Ex. E at 35, Ex. F at 31, Ex. G at 31, Ex. H at 36, Ex. I at 36, Ex. J

at 37.) Coverage A in the Policies is also subject to the Expected or Intended Injury Exclusion,

which provides:

        This insurance does not apply to:

                a.      Expected or Intended Injury

                “Bodily injury” or “property damage” expected or intended from the
                standpoint of the insured. This exclusion does not apply to “bodily injury”
                resulting from the use of reasonable force to protect persons or property.

(See Complaint, ¶ 51; Ex. D at 19, Ex. E at 23, Ex. F at 19, Ex. G at 19, Ex. H at 24, Ex. I

at 24, Ex. J at 24.).

        Based on the foregoing provisions, intentional “bodily injury” or “property damage”

inflicted on others falls outside the Policies’ scope. See e.g. Hillgen-Santa, 2022 WL 3596623, *7

(holding that coverage for any “bodily injury” or “property damage” was barred because the

claimants alleged that the insureds intentionally engaged in conduct that they expected or intended

would result in the alleged harm.) The Complaints in the Underlying Lawsuits expressly allege

that the defendants, including Jones, knew that their publications could cause the plaintiffs to suffer

harassment and potential violence. (See Complaint Ex. A, ¶ 341, Ex. B, ¶ 421, Ex. C, ¶ 421.) They

also allege that the defendants had knowledge that their statements were lies. (See Complaint Ex.



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A, ¶ 339; Ex. B, ¶ 419, Ex. C, ¶ 419.) Jones is also alleged to have deliberately employed the false

narratives about the Sandy Hook shooting, the victims, and their families as part of a marketing

scheme that has brought him and his businesses tens of millions of dollars per year. (See

Complaint, Ex. A, ¶ 11; Ex. B, ¶ 11; Ex. C., ¶ 11). In light of the intentionally harmful nature of

the Jones’s alleged acts, the damages alleged fall outside the scope of the policies. This is true

even though one of the claims (Count Four) alleges negligent infliction of emotional distress.

Claims which are framed in terms of negligence are not covered when they are based on a series

of intentional harmful acts. See e.g. Hillgen-Santa, 2022 WL 3596623, *7; Sklanka, 2020 WL

1932359, at footnote 3 (merely affixing the label “negligent” does not transform intentional

conduct into negligent behavior); Sklanka, 2020 WL 3790745, at footnote 3 (same). West Bend

therefore cannot owe a duty to defend or a duty to indemnify to Jones.

       6.      Jones is Not An Insured Under the Policies in the First Place.

       In pertinent part, SECTION II—WHO IS AN INSURED provides:

       1.      If you are designated in the Declarations as:

               ***
               d.      An organization other than a partnership, joint venture or limited
                       liability company, you are an insured. Your “executive officers”
                       and directors are insureds, but only with respect to their duties as
                       your officers or directors. Your stockholders are also insureds, but
                       only with respect to their liability as stockholders.

               ***
       2.      Each of the following is also an insured:

               a.      Your “volunteer workers” only while performing duties related to
                       the conduct of your business, or your “employees”, other than
                       either your “executive officers” (if you are an organization other
                       than a partnership, joint venture or limited liability company) or
                       your managers (if you are a limited liability company), but only for
                       acts within the scope of their employment by you or while
                       performing duties related to the conduct of your business.



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                ***
        No person or organization is an insured with respect to the conduct of any current
        or past partnership, joint venture or limited liability company that is not shown as
        a Named Insured in the Declarations.

(See Complaint, ¶ 54, Ex. D at 26, Ex. E at 30, Ex. F at 26, Ex. G at 26, Ex. H at 31, Ex. I

at 31, Ex. J at 31.))

        The foregoing provision does not grant insured status to Jones. The Underlying Lawsuits

do not allege that Jones was an executive officer, director, or employee of GCN. In fact, the

Underlying Lawsuits appear to describe Jones as being separate and apart from GCN. For

example, the complaints refer to the “Jones defendants,” which the Underlying Claimants

expressly define as including the Texas-based entities owned, controlled or operated by Mr. Jones,

specifically including Defendants Infowars, LLC, Free Speech Systems, LLC, Infowars Health

LLC, and Prison Planet TV LLC. (See Complaint Ex. A ¶ 35; Ex. B, ¶ 30; Ex. C, ¶ 30.) GCN is

not among the defendants that the Underlying Claimants define as “the Jones Defendants.” (See

Complaint Ex. A, ¶¶ 30-35; Ex. B, ¶¶ 25-30; Ex. C, ¶¶ 25-30.) GCN appears to have been

originally included in the action because it distributed the radio programs produced by Alex Jones

and Infowars. (See Complaint Ex. A, ¶ 38; Ex. B, ¶ 33; Ex. C, ¶ 33.) Ultimately, the Underlying

Claimants withdrew their claims against GCN, which further substantially undermines any notion

that Jones was GCN’s executive officer, director or employee. See Cunningham Aff., ¶ 11, Ex.

1.) As Jones was not alleged to have been acting as GCN’s executive officer, director or employee,

he is not an insured under the Policies, and West Bend cannot owe him a duty to defend or

indemnify, even if the Policies would otherwise cover the alleged damages (which they do not).




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                                      CONCLUSION

       For the reasons stated above, West Bend Mutual Insurance Company requests that the

Court enter a Default Judgment against Alex Jones in substantial conformity with the attached

proposed Default Judgment.

                                   Respectfully Submitted,

                                   WEST BEND MUTUAL INSURANCE COMPANY


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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was filed with the Clerk of the

Court using the ECF system which will send notice of such filing to all counsel of record.

Dated: October 14, 2022


                                                     /s/Daniel J. Cunningham




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